Case 9:16-cv-81869-KAM Document 11 Entered on FLSD Docket 04/25/2017 Page 1 of 1



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

  JANET HOYT,
                                                              CASE NO. :16-cv-81869-MARRA
            Plaintiff,

  VS.

  WALLACE FORD, LLC, d/b/a
  AUTONATION FORD DELRAY,

           Defendant(s).


                   JOINT STIPULATION FOR DISMISSAL WITH PREJUDICE

           Plaintiff, JANET HOYT ("Plaintiff') and Defendant, WALLACE FORD, LLC, d/b/a

  AUTONATION FORD DELRAY ("Defendant"), by and through their respective undersigned

  counsels, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, hereby

  stipulate that this case be dismissed with prejudice, with each party to bear its/her own fees and

  costs. Plaintiff and Defendant request that this Court enter an Order of Dismissal with Prejudice.

        Dated this 25th day of April, 2017.

  WEISS LAW GROUP, P.A.                                CONROY SIMBERG
  Attorneys for Plaintiff                              Attorneys for Defendant
  5531 N. University Drive                             1801 Centrepark Drive East,
  Suite 103                                            Suite 200
  Coral Springs, FL 33067                              West Palm Beach, FL 33401
  Tel: (954) 573-2800                                  Telephone: (561) 697-8088
  Fax: (954) 573-2798                                  Facsimile: (561) 697-8664

  BY: /s/ Jason S. Weiss                               By:      /s/ Jeffrey A. Blaker
  Jason S. Weiss                                       Jeffrey A. Blaker
  Jason@j swlawyer.com                                 eservicewpb@conroysimberg.com
  Florida Bar No. 356890                               jblaker@conroysimberg.com
                                                       kmelby@conroysimberg.corn
                                                       Florida Bar No. 443913




                                                  1
